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   SAN BENITO COUNTY WATER DISTRICT
 7

 8                         UNITED STATES DISTRICT COURT

 9                        EASTERN DISTRICT OF CALIFORNIA

10                                  FRESNO DIVISION

11 NORTH COAST RIVERS ALLIANCE,                  Case No. 16-cv-307-DAD-SKO
   CALIFORNIA SPORTFISHING
12 PROTECTION ALLIANCE, PACIFIC                  ORDER EXTENDING TIME FOR SAN
   COAST FEDERATION OF FISHERMEN'S               BENITO COUNTY WATER DISTRICT
13 ASSOCIATIONS, SAN FRANCISCO                   TO FILE RESPONSIVE PLEADING TO
   CRAB BOAT OWNERS ASSOCIATION,                 PLAINTIFFS' THIRD AMENDED AND
14 INC., and INSTITUTE FOR FISHERIES             SUPPLEMENTAL COMPLAINT FOR
   RESOURCES,                                    DECLARATORY AND INJUNCTIVE
15                                               RELIEF
                Plaintiffs,
16                                               (Doc. 187)
          v.
17
   UNITED STATES DEPARTMENT OF THE
18 INTERIOR; UNITED STATES BUREAU
   OF RECLAMATION, CITY OF FOLSOM;
19 CITY OF ROSEVILLE; EAST BAY
   MUNICIPAL UTILITY DISTRICT;
20 PLACER COUNTY WATER AGENCY;
   SACRAMENTO COUNTY WATER
21 AGENCY; SACRAMENTO MUNICIPAL
   UTILITY DISTRICT; SAN JUAN WATER
22 DISTRICT; WESTLANDS WATER
   DISTRICT DISTRIBUTION DISTRICT NO.
23 1; WESTLANDS WATER DISTRICT
   DISTRIBUTION DISTRICT NO. 2;
24 WESTLANDS WATER DISTRICT
   FINANCING CORPORATION; CITY OF
25 WEST SACRAMENTO; CITY OF SHASTA
   LAKE; MOUNTAIN GATE COMMUNITY
26 SERVICES DISTRICT; SHASTA
   COMMUNITY SERVICES DISTRICT;
27 SHASTA COUNTY WATER AGENCY;
   CITY OF REDDING; 4-M WATER
28 DISTRICT; BELLA VISTA WATER
                                             1
     STIPULATION AND ORDER EXTENDING TIME FOR SAN BENITO COUNTY WATER DISTRICT TO FILE
                                   RESPONSIVE PLEADING
 1 DISTRICT; COLUSA COUNTY WATER
   DISTRICT; CORNING WATER DISTRICT;
 2 CORTINA WATER DISTRICT;
   DUNNIGAN WATER DISTRICT; GLIDE
 3 WATER DISTRICT; KANAWHA WATER
   DISTRICT; LA GRANDE WATER
 4 DISTRICT; STONY CREEK WATER
   DISTRICT; CENTERVILLE COMMUNITY
 5 SERVICES DISTRICT; CENTRAL SAN
   JOAQUIN WATER CONSERVATION
 6 DISTRICT; DAVIS WATER DISTRICT;
   DEL PUERTO WATER DISTRICT;
 7 GLENN VALLEY WATER DISTRICT;
   MYERS-MARSH MUTUAL WATER
 8 COMPANY; ORLAND-ARTOIS WATER
   DISTRICT; STOCKTON EAST WATER
 9 DISTRICT; WESTSIDE WATER
   DISTRICT; BANTA-CARBONA
10 IRRIGATION DISTRICT; BYRON
   BETHANY IRRIGATION DISTRICT;
11 EAGLE FIELD WATER DISTRICT;
   FRESNO SLOUGH WATER DISTRICT;
12 HOLTHOUSE WATER DISTRICT; JAMES
   IRRIGATION DISTRICT; PROBERTA
13 WATER DISTRICT; RECLAMATION
   DISTRICT 1606; THE WEST SIDE
14 IRRIGATION DISTRICT; TRANQUILITY
   IRRIGATION DISTRICT; WEST
15 STANISLAUS IRRIGATION DISTRICT;
   PATTERSON IRRIGATION DISTRICT;
16 TRANQUILITY PUBLIC UTILITY
   DISTRICT; CLEAR CREEK COMMUNITY
17 SERVICES DISTRICT; CONTRA COSTA
   WATER DISTRICT; PACHECO WATER
18 DISTRICT; COUNTY OF COLUSA; EL
   DORADO IRRIGATION DISTRICT;
19 PANOCHE WATER DISTRICT; CITY OF
   AVENAL; CITY OF COALINGA; CITY OF
20 HURON; SAN BENITO COUNTY WATER
   DISTRICT; MERCY SPRINGS WATER
21 DISTRICT; CITY OF LINDSAY; CITY OF
   ORANGE COVE; CITY OF TRACY;
22 COUNTY OF FRESNO; COUNTY OF
   MADERA; COUNTY OF TULARE; HILLS
23 VALLEY IRRIGATION DISTRICT;
   INTERNATIONAL WATER DISTRICT;
24 KERN-TULARE WATER DISTRICT;
   LAGUNA WATER DISTRICT; LOWER
25 TULE RIVER IRRIGATION DISTRICT;
   PIXLEY IRRIGATION DISTRICT; THE
26 COEHLO FAMILY TRUST; and TRI
   VALLEY WATER DISTRICT,
27
               Defendants.
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                                            2
    STIPULATION AND ORDER EXTENDING TIME FOR SAN BENITO COUNTY WATER DISTRICT TO FILE
                                  RESPONSIVE PLEADING
 1                                                    ORDER

 2            Pursuant to Plaintiffs’ and Defendant San Benito County Water District's stipulation (Doc.

 3 187), IT IS HEREBY ORDERED that the deadline for Defendant San Benito County Water District

 4 to file an answer or to otherwise respond to Plaintiffs’ Third Amended and Supplemental Complaint

 5 for Declaratory and Injunctive Relief is extended to April 29, 2022.

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 7 IT IS SO ORDERED.

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     Dated:     March 21, 2022                                 /s/ Sheila K. Oberto                .
 9                                                     UNITED STATES MAGISTRATE JUDGE

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     STIPULATION AND ORDER EXTENDING TIME FOR SAN BENITO COUNTY WATER DISTRICT TO FILE
                                   RESPONSIVE PLEADING
